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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

JOHN HEYKOOP doing business as
EAGLE TOWING,
                                                       Case No. 1:18-CV-632
               Plaintiff,
v.                                                     HON. ROBERT J. JONKER

JEFFREY WHITE, et al.,

            Defendants.
_______________________________/

                                 CASE MANAGEMENT ORDER

          IT IS HEREBY ORDERED:

 Trial Date and Time                                                          AUGUST 13, 2019
                                                                                    8:30 a.m.
 Place:     699 Ford Federal Building, 110 Michigan, NW
            Grand Rapids, MI 49503
 Before:    Chief Judge Robert J. Jonker
 Jury or Non Jury                                                                        Jury
 Estimated Length of Trial                                                              4 days
 Stipulations to Join Parties or Amend Pleadings                                    By motion
 Rule 26(a)(1) Disclosures (including lay witnesses)    Plaintiff:            AUGUST 31, 2018
                                                       Defendant:             AUGUST 31, 2018
 Disclose Name, Address, Area of Expertise and
 a short summary of expected testimony
 of Expert Witnesses (Rule 26(a)(2)(A)
                                 - Party with the Burden of Proof:         JANUARY 15, 2019
                                               - Responding Party:        FEBRUARY 15, 2019

 Disclosure of Expert Reports
 (Rule 26(a)(2)(B))
                                 - Party with the Burden of Proof:          JANUARY 15, 2019
                                               - Responding Party:        FEBRUARY 15, 2019

 Completion of Discovery                                                  FEBRUARY 28, 2019
 Dispositive Motions                                                          MARCH 31, 2019
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 Interrogatories will be limited to:                                               25 single part questions
 (Single Part Questions)
 Depositions will be limited to:                                                               10 per party
 (Fact Witnesses Per Party)
 Settlement Conference                                          Date:                       JUNE 14, 2019
                                                                Time:                           2:00 p.m.
                                                               Before:      Magistrate Judge Phillip J. Green

 Final Pretrial Conference                                       Date:                      JULY 19, 2019
 Before Chief Judge Robert J. Jonker                             Time:                          3:30 p.m.
 Note Preparation Details within this Order
 ADR To Take Place On Or Before:                                                    FEBRUARY 28, 2019


1.      TRIAL DATE AND SETTING: This case is scheduled for trial before the Honorable Robert J.
        Jonker, 699 Ford Federal Building, 110 Michigan, NW, Grand Rapids, Michigan, as set forth above.

2.      JOINDER OF PARTIES AND AMENDMENTS OF PLEADINGS: All stipulations for joinder of
        parties and all stipulations to amend the pleadings must be filed by the date set forth in the table
        above to ensure amendment as a matter of consent under Rule 15(a)(2). Proposed amendments after
        the noted date are by leave of court.

3.      DISCLOSURES AND EXCHANGES: Deadlines for exchange of Rule 26(a)(1) disclosures, names
        of lay witnesses, identification of experts, production of documents, and disclosure of expert reports
        under Rule 26(a)(2), if applicable, are ordered as set forth in the table above.

4.      DISCOVERY: All discovery proceedings shall be completed no later than the date set forth in the
        table above, and shall not continue beyond this date. All interrogatories, requests for admissions,
        and other written discovery requests must be served no later than thirty days before the close of
        discovery. All depositions must be completed before the close of discovery. Interrogatories will be
        limited as set forth in the table above. Depositions will be limited as set forth in the table above.
        There shall be no deviations from this order without prior approval of the court upon good cause
        shown. Time limitations for depositions set forth in Rule 30(d)(1) apply to this case.

5.      MOTIONS:

        a.      Non-dispositive motions shall be filed in accordance with W.D. Mich. LCivR. 7.3. They
                may be referred to a magistrate judge in Grand Rapids, Michigan, pursuant to 28 U.S.C. §
                636(b)(1)(A). In accordance with 28 U.S.C. § 471, et seq., it is the policy of this Court to
                prohibit the consideration of discovery motions unless accompanied by a certification that
                the moving party has made a reasonable and good faith effort to reach agreement with
                opposing counsel on the matters set forth in the motion.

        b.      Dispositive motions shall be filed in accordance with W.D. Mich. LCivR 7.2 by the date set
                forth in the table above. If dispositive motions are based on supporting documents such as


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             depositions or answers to interrogatories, only those excerpts which are relevant to the
             motion shall be filed. The case manager will notify counsel of the date for oral argument.

     c.      The parties are strongly encouraged to file motions in limine at least fourteen (14) calendar
             days prior to the final pretrial conference, but in no event shall they be filed later than the
             date for the submission of the proposed Final Pretrial Order.

6.   ALTERNATIVE DISPUTE RESOLUTION: This matter shall be submitted to Standard Track Case
     Evaluation no later than the date set forth in the table above. A separate Order will issue regarding
     the method and schedule for case evaluation.

7.   SETTLEMENT CONFERENCE: The parties are under an ongoing obligation to engage in good
     faith settlement negotiations. A settlement conference has been scheduled before the magistrate
     judge as set forth above.

     a.      Persons Required to Attend. Unless excused by a showing of good cause, the attorney who
             is to conduct the trial shall attend the settlement conference, accompanied by a
             representative of the party with full settlement authority. Both shall attend in person. The
             person with settlement authority must come cloaked with authority to accept, without further
             contact with another person, the settlement demand of the opposing party. An insured party
             shall also appear by a representative of the insurer who is authorized to negotiate and to
             settle the matter (within policy limits) up to the amount of the opposing parties’ existing
             settlement demand. W.D.Mich. LCivR 16.8.

     b.      Settlement Letter to Opposing Party. A settlement conference is more likely to be
             productive if, before the conference, the parties have had a written exchange of their
             settlement proposals. Accordingly, at least fourteen (14) days prior to the settlement
             conference, plaintiff’s counsel shall submit a written itemization of damages and settlement
             demand to defendants’ counsel with a brief explanation of why such a settlement is
             appropriate. No later than seven (7) days prior to the settlement conference, defendants’
             counsel shall submit a written offer to plaintiff’s counsel with a brief explanation of why
             such a settlement is appropriate. This may lead directly to a settlement. If settlement is not
             achieved, plaintiff’s counsel shall deliver, fax or e-mail copies of these letters to the
             chambers of the magistrate judge conducting the conference no later than three (3) business
             days before the conference. Do not file copies of these letters in the Clerk’s Office.

     c.      Confidential Settlement Letter to Court. In addition, three (3) business days before the
             conference, each party or their attorney shall submit to the magistrate judge conducting the
             conference a confidential letter concerning settlement. A copy of this letter need not be
             provided to any other party. Do not file a copy of this letter in the Clerk’s Office. All
             information in the settlement letter shall remain confidential and will not be disclosed to any
             other party without the approval of the writer. The confidential settlement letter shall set
             forth: (a) the name and title of the party representative who will be present at the settlement
             conference, with counsel’s certification that the representative will have full authority to
             settle, without the need to consult with any other party; (b) a very brief explanation of the
             nature of the case, including an identification of any parties added or dismissed since the
             time of filing; (c) a history of settlement negotiations to date, including all offers, demands


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             and responses (the letter should not, however, divulge any offer made in the context of a
             voluntary facilitative mediation); (d) the policy limits of any relevant insurance coverage;
             (e) the limits on settlement authority given to counsel by the client; (f) that party’s
             suggestions concerning the most productive approach to settlement; (g) any other matter that
             counsel believes will improve the chances for settlement. Plaintiff shall also provide an
             estimated range of damages recoverable at trial and a brief analysis of the method(s) used
             for arriving at the estimate(s).

8.   FINAL PRETRIAL CONFERENCE: A final pretrial conference is scheduled at the date and time
     set forth above.

9.   PREPARATION OF PROPOSED FINAL PRETRIAL ORDER: A proposed pretrial order, entitled
     “Final Pretrial Order” shall be prepared jointly by counsel and filed three (3) business days prior
     to the final pretrial conference in the following form:

             A final pretrial conference was held on the ___ day of ______________. Appearing for the
             parties as counsel were:

                     (List the counsel who will attend the pretrial conference.)

             1.      Exhibits: The following exhibits will be offered by the plaintiff and the defendants:

                     (List separately for each party all exhibits, including demonstrative evidence and
                     summaries of other evidence, by name and number. Plaintiff shall use numbers;
                     defendants shall use letters. Indicate with respect to each exhibit whether and for
                     what reason its admissibility is challenged. Exhibits expected to be used solely for
                     impeachment purposes need not be numbered or listed until identified at trial.
                     Failure to list an exhibit required to be listed by this order will result, except upon
                     a showing of good cause, in a determination of non-admissibility at trial. Objections
                     not contained in the Pretrial Order, other than objections under Evidence Rule 402
                     or 403, shall be deemed waived except for good cause shown. See Fed. R. Civ. P.
                     26(a)(3)(B).)

             2.      Uncontroverted Facts: The parties have agreed that the following may be accepted
                     as established facts:

                     (State in detail all uncontroverted facts.)

             3.      Controverted Facts and Unresolved Issues: The factual issues remaining to be
                     determined and issues of law for the Court’s determination are:

                     (Set out each issue which is genuinely controverted, including issues on the merits
                     and other matters which should be drawn to the Court’s attention.)

             4.      Witnesses:




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                a.      Non-expert witnesses to be called by the plaintiff and defendants, except
                        those who may be called for impeachment purposes only, are:

                        (List names, addresses, and telephone numbers of all non-experts who will
                        testify. Indicate whether they are expected to testify in person, by
                        deposition videotape, or by reading of their deposition transcript. Indicate
                        all objections to the anticipated testimony of each non-expert witness. For
                        each witness listed, indicate whether the witness will be called or merely
                        may be called to testify.)

                b.      Expert witnesses to be called by the plaintiff and defendants, except those
                        who may be called for impeachment purposes only, are:

                        (List names, addresses, and telephone numbers of all experts who will
                        testify, providing a brief summary of their qualifications and a statement of
                        the scientific or medical field(s) in which they are offered as experts.
                        Indicate whether they will testify in person, by deposition videotape, or by
                        reading of their deposition transcript. Indicate all objections to the
                        qualifications or anticipated testimony of each expert witness.)

                        It is understood that, except upon a showing of good cause, no witness
                        whose name and address does not appear in the lists required by
                        subsections (a) and (b) will be permitted to testify for any purpose, except
                        impeachment, if the opposing party objects. Any objection to the use of a
                        deposition under Fed. R. Civ. P. 32(a) not reflected in the Pretrial Order
                        shall be deemed waived, except for good cause shown.

          5.    Depositions and Other Discovery Documents:

                All depositions, answers to written interrogatories, and requests for admissions, or
                portions thereof, that are expected to be offered in evidence by the plaintiff and the
                defendants are:

                (Designate portions of depositions by page and line number. Designate answers to
                interrogatories and requests for admissions by answer or request number.
                Designation need not be made of portions that may be used, if at all, as
                impeachment of an adverse party. Indicate any objections to proposed deposition
                testimony, answers to interrogatories, and admissions.)

          6.    Length of Trial: Counsel estimate the trial will last approximately _____ full days,
                allocated as follows: _____ days for plaintiff’s case; _____ days for defendants’
                case; _____ days for other parties.

          7.    Prospects of Settlement: The status of settlement negotiations is:

                (Indicate progress toward settlement and issues that are obstacles to settlement.)



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         The proposed Final Pretrial Order will be signed by all counsel, signifying acceptance, and upon
approval by the Court, with such additions as are necessary, will be signed by the Court as an order reflecting
the final pretrial conference.

10.     MATTERS TO BE CONSIDERED AT THE FINAL PRETRIAL CONFERENCE: At the final
        pretrial conference, the parties and the Court will formulate a plan for trial, including a program for
        facilitating the admission of evidence, consider the prospects of settlement, and consider such other
        matters as may aid in the trial or other disposition of the action. Unless excused by the court in
        advance upon a showing of good cause, the attorney who is to conduct the trial shall attend the final
        pretrial conference and shall be accompanied by the individual parties or representative of the party
        (other than the attorney himself or herself) with full settlement authority.

        Three (3) business days prior to the final pretrial conference, exhibit books shall be submitted to the
        Court. Exhibits shall be clearly identified. Counsel for the parties shall provide three (3) sets of
        notebooks with the exhibits to the Court. The exhibits should be divided and tabbed with the exhibit
        numbers. A list of the exhibits (Attachment, Exhibit 1) should be located in the front of the
        notebooks. One set of notebooks is for the Court, one set is for the deputy clerk in the courtroom,
        one set is for the use of the witnesses. When bringing a document to the attention of the Court and
        witnesses, counsel asking the questions should refer to the notebook volume and exhibit number.

        Counsel shall arrange to have all documentary exhibits digitized for projection on the large screen
        in the courtroom. Counsel are responsible for projection of the exhibits using their own computers
        and software compatible with the Court’s electronic system. Scheduling and questions concerning
        the use of electronic projection is accomplished by sending an e-mail to
        courttech@miwd.uscourts.gov, or by calling (616) 732-2757. Information concerning the features
        of the electronic evidence projection in the courtroom is available at the court’s website:
        www.miwd.uscourts.gov (click on Courtroom Technology link).

11.     PREPARATION FOR TRIAL:

        A.       Each party shall file the following not later than three business days prior to the
                 commencement of the final pretrial conference:

                 i.      Proposed voir dire questions. The Court will ask basic voir dire questions. Counsel
                         for the parties will be permitted to question prospective jurors. Questioning by
                         counsel shall not be repetitive of questions asked by the Court or of questions asked
                         in the juror questionnaire.

                 ii.     Trial briefs.

        B.       The parties shall jointly file the following not later than three business days prior to the
                 final pretrial conference:

                 i.      Proposed jury instructions. This Court uses Western District of Michigan’s
                         Standardized Jury Instructions for the preliminary and final instructions. A copy




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                         of these instructions is available on the Court’s website (www.miwd.uscourts.gov).1
                         The court generally uses O’Malley, Grenig & Lee’s Federal Jury Practice and
                         Instructions for those not covered in the standard set. Standard instructions may be
                         submitted by number. Other non-standard instructions shall be submitted in full
                         text, one per page, and include reference to the source of each requested instruction.
                         Indicate objections, if any, to opposing counsel’s proposed instructions, with a
                         summary of the reasons for each objection.

         The parties are required to submit a copy of the joint statement of case and statement of the elements,
joint proposed jury instructions, and joint proposed verdict form(s) compatible with IBM computer/Corel
WP 9.0 by e-mail to Judge Jonker’s Judicial Assistant, Yvonne Carpenter at
Yvonne_Carpenter@miwd.uscourts.gov.

                 ii.     A joint statement of the case and statement of the elements that must be proven by
                         each party. If the parties are unable to agree on the language of a joint statement of
                         the case, then separate, concise, non-argumentative statements shall be filed. The
                         statement(s) of the case will be read to the prospective jurors during jury selection.
                         The elements that must be proven by each party will be included in the preliminary
                         jury instructions.


Date:       August 7, 2018                         /s/ Robert J. Jonker
                                                   ROBERT J. JONKER
                                                   CHIEF UNITED STATES DISTRICT JUDGE




        1
          The instructions are located within the Electronic Filing section, and you will need to use
your E-Filing Login and Password to access them. Once you have logged into the electronic filing
section of the website, click Utilities, then select WDMI Attorney References and you will see the
link to the Standard Civil Jury Instructions.

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                          ATTACHMENT - EXHIBIT 1

 Exhibit                                  Offered                Date      Date
                   Description                      Objection
No./Letter                                  By                  Offered   Received




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